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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

NICKI LEVENDIS                                                 CIVIL ACTION

VERSUS                                                            No. 19-1557

HARRAH’S NEW ORLEANS                                              SECTION I
MANAGEMENT COMPANY, LLC, ET AL.

                                 JUDGMENT

      Considering the Court’s order granting defendant Jazz Casino Co., LLC’s

(“Jazz Casino”) motion for summary judgment,

      IT IS ORDERED that judgment shall be entered in favor of Jazz Casino and

against Nicki Levendis, and that Nicki Levendis’s claims in the above-captioned

matter are DISMISSED WITH PREJUDICE.

      New Orleans, Louisiana, August 6, 2019.



                                       _______________________________________
                                                 LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE
